16-01020-jlg       Doc 19      Filed 09/09/16        Entered 09/09/16 16:37:41   Main Document
                                                    Pg 1 of 4



 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------X

 In re:                                                      Bankruptcy Case No. 15-11650
                                                             (JLG)

 Amir Orly

                                    Debtor.
                                                             Adversary Proceeding No. 16-01020
 ALFREDO MORENO COCOLETZI, EDGAR                             (JLG)
 MONTEROSO GILBERTO DARIO RAMIREZ
 RAMOS, GERMAN TORRES ROMERO, and
 CRISTIAN FREDY VILLAR MEDINA,

                                    Plaintiffs,

                           -against-

 AMIR ORLY,

                                    Defendant.

 -------------------------------------------------------X




  PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR
                 LEAVE TO FILE AMENDED COMPLAINT


                                 MICHAEL FAILLACE & ASSOCIATES, P.C.
                                         Joshua S. Androphy
                                    60 East 42nd Street, Suite 2540
                                     New York, New York 10165
                                           (212) 317-1200
                                       Attorneys for Plaintiffs
16-01020-jlg    Doc 19     Filed 09/09/16     Entered 09/09/16 16:37:41         Main Document
                                             Pg 2 of 4


       Plaintiffs seek leave to file a first amended complaint, pursuant to Rule 15 of the Federal

Rules of Civil Procedure, as made applicable by Rule 7015 of the Federal Rules of Bankruptcy

Procedure.

       Plaintiffs seek to file a first amended complaint to add allegations pertaining to two

individuals, Cristian Villar Medina and German Torres Romero, who filed consents to join an

underlying pending FLSA action in the United States District Court for the Southern District of

New York (the “District Court Action”).

       By order dated August 10, 2016, the Court granted defendant Amir Orly’s motion to

dismiss the claims as to Messrs. Torres and Villar, with leave to seek to replead, and denied the

motion as respect to Plaintiffs Moreno, Monterroso, and Ramirez. (Dkt. No. 15) The motion was

granted as to Torres and Villar because there were no allegations as to the specific injuries they

allegedly suffered by reason of Orly’s intentional and unlawful acts. (Id. at 15) The proposed first

amended complaint would remedy that, as it incorporates a proposed amended complaint in the

District Court Action which includes allegations of the specific injuries suffered by Torres and

Villar by the unlawful, willful, and malicious actions of Orly. (Androphy Dec. Ex. A)

        Pursuant to Fed. R. Civ. P. 15(a)(2), “[t]he Court should freely give leave when justice so

requires.”

       The Supreme Court has made clear that Rule 15(a)(2)'s “mandate is to be heeded.” Tokio

Marine & Fire Ins. Co. v. Employers Ins. of Wausau, 786 F.2d 101, 103 (2d Cir. 1986) (quoting

Foman v. Davis, 371 U.S. 178, 182, 83 S. Ct. 227, 9 L. Ed. 2d 222 (1962)). Thus, “[w]hen a party

requests leave to amend its complaint, permission generally should be freely granted.” Anderson

News, L.L.C. v. Am. Media, Inc., 680 F.3d 162, 185 (2d Cir. 2012). However, “[l]eave to amend

may properly be denied if the amendment would be futile," id. (citing Foman, 371 U.S. at 182), or
16-01020-jlg      Doc 19     Filed 09/09/16      Entered 09/09/16 16:37:41        Main Document
                                                Pg 3 of 4


"where necessary to thwart tactics that are dilatory, unfairly prejudicial or otherwise abusive.”

Ching v. United States, 298 F.3d 174, 180 (2d Cir. 2002); see Losquadro v. FGH Trust Credit

Corp., 959 F. Supp. 152, 159 (E.D.N.Y. 1997) ("Only 'undue delay, bad faith, or dilatory motive

on the part of the movant, repeated failure to cure deficiencies by amendments previously allowed,

[or] undue prejudice to the opposing party . . .' will serve to prevent an amendment prior to trial.”)

(quoting Foman, 371 U.S. at 182))).

         Plaintiffs’ request for leave to amend should be granted. The impetus for the amended

complaint is to add the specific claims of Torres and Villar. The original complaint did not include

their allegations because it incorporated a complaint in the District Court Action filed before

Torres and Villar joined the District Court Action. The proposed amended complaint includes

such claims by incorporating a proposed first amended complaint in the District Court Action

which contains the allegations for Torres and Villar.

         Torres and Villar have meritorious claims against Orly, and therefore amendment of the

complaint would not be futile. Torres and Villar’s claims are basically the same allegations, with

individual variations as to the particular details, as the other Plaintiffs. (Androphy Dec. Ex. A)

The Court has already determined that the other Plaintiffs’ claims are sufficient to withstand Orly’s

motion to dismiss.

         Furthermore, no party will be prejudiced by amendment of the complaint.

                                           CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that the Court grant leave to file

a First Amended Complaint in this matter.

Dated:          New York, New York
                September 9, 2016

                                                        MICHAEL FAILLACE & ASSOCIATES, P.C.

                                                 -2-
16-01020-jlg   Doc 19   Filed 09/09/16    Entered 09/09/16 16:37:41   Main Document
                                         Pg 4 of 4



                                         By:    /s/ Joshua S. Androphy _______________
                                                Joshua S. Androphy
                                                60 East 42nd Street, Suite 2540
                                                New York, New York 10165
                                                Telephone: (212) 317-1200
                                                Facsimile: (212) 317-1620
                                                Attorneys for Plaintiffs




                                          -3-
